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                 Attachment 1

U.S. Army Corps of Engineers
    Navigable Waters List
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                           Navigable Waters of the United States in the
                              Fort Worth, Albuquerque, and Tulsa
                               Districts Within the State of Texas
                                              December 20, 2011



 For purposes of Section 10 of the Rivers and Harbors Act of 1899, navigable waters of the United States are
 those waters that are subject to the ebb and flow of the tide and/or are presently being used, or have been used in
 the past, or may be susceptible for use to transport interstate or foreign commerce (33 CFR 329.4). Navigable
 waters include lakes and other on-channel impoundments of navigable rivers. Under Section 10, the U.S. Army
 Corps of Engineers (USACE) regulates any work in or affecting navigable waters of the United States. The
 following waters are considered to be navigable waters of the United States and thus fall within the jurisdiction
 of the USACE in the Fort Worth, Albuquerque, and Tulsa districts. Navigable waters in the Galveston District
 are determined on a case-by-case basis and, therefore, are not included in this list. The USACE district(s) within
 which these navigable waters lie are indicated as: SWF (Fort Worth District), SWT (Tulsa District), and SPA
 (Albuquerque District).


Angelina River:           From Sam Rayburn Dam in Jasper County upstream to U.S. Highway 59 in
                          Nacogdoches and Angelina counties and all USACE lands associated with B.A.
                          Steinhagen Lake in Jasper and Tyler counties, Texas. [SWF]

Big Cypress Bayou:        From the Texas-Louisiana state line in Marion County, Texas, upstream to Ellison
                          Creek Reservoir in Morris County, Texas. [SWF]

Brazos River:             From the point of intersection of Grimes, Waller, and Washington counties upstream to
                          Whitney Dam in Hill and Bosque counties, Texas. [SWF]

Colorado River:           From the Bastrop-Fayette county line upstream to Longhorn Dam in Travis County,
                          Texas. [SWF]

Neches River:             USACE lands associated with B.A. Steinhagen Lake in Jasper and Tyler counties,
                          Texas. [SWF]

Red River:                From the U.S. Highway 71 bridge at the Texas-Arkansas state line upstream to the
                          Oklahoma-Arkansas state line and from Denison Dam on Lake Texoma upstream to
                          Warrens Bend, approximately 7.25 miles north-northeast of Marysville, in Cooke
                          County, Texas. [SWT]

Rio Grande:               From the Zapata-Webb county line upstream to the point of intersection of the Texas-
                          New Mexico state line and Mexico. [SWF, SPA]

Sabine River:             From the point of intersection of the Sabine-Vernon parish line in Louisiana with
                          Newton County, Texas upstream to the Sabine River-Big Sandy Creek confluence in
                          Upshur County, Texas. [SWF]

Sulphur River:            From the Texas-Arkansas state line upstream to Wright Patman Dam in Cass and Bowie
                          counties, Texas. [SWF]

Trinity River:            From the point of intersection of Houston, Madison, and Walker counties upstream to
                          Riverside Drive in Fort Worth, Tarrant County, Texas. [SWF]
